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 4   Attorney for Defendant
     JEREMY TERRELL
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 6
                                  UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,
 9                                                        Case No. 2:10CR00477-04
                    Plaintiff,
10                                                        EX PARTE MOTION TO EXONERATE
            v.                                            PROPERTY BOND; DECLARATION;
11                                                        ORDER THEREON
     JEREMY TERRELL,
12
                    Defendant.
13                                       /

14
            This Court pronounced Judgment in this case on November 28, 2012. Defendant
15
     JEREMY TERRELL, hereinafter referred to as DEFENDANT, was sentenced to thirty six
16
     (36) months in custody, pursuant to his plea agreement, with credit for time served, in a
17
     confinement center and placed on sixty (60) months of supervised release. On November 10,
18
     2010, DEFENDANT was ordered released, subject to the conditions contained in the “Notice
19
     to Defendant Being Released.”
20
            A property bond was provided to the Court as a condition of DEFENDANT’S release.
21
     The property bond for $100,000 consisted of a secured bond and an unsecured bond. The
22
     secured bond was executed by DEFENDANT and DEFENDANT’S father, Christopher D.
23
     Terrell, for $2,200 secured by a Deed of Trust (attached hereto as Exhibit A) on the father’s
24
     property known as 456 Tulip Court, Brentwood, California 94513. The remainder of $97,800
25
     was secured by an unsecured bond executed by the same parties.
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 1          Pursuant to the November 28, 2012 judgment, DEFENDANT surrendered himself on

 2   January 3, 2013 and is now serving his sentence at the Federal Correctional Institution in

 3   Phoenix, Arizona, pursuant to the judgment and the plea agreement.

 4          It is respectfully requested that the Court order the exoneration of the property bond.

 5          Dated: February 19, 2013

 6                                                        /S/ DANNY B. SCHULTZ
                                                          DANNY B. SCHULTZ
 7                                                        Attorney for Defendant
                                                          JEREMY TERRELL
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 1                           DECLARATION OF DANNY B. SCHULTZ

 2          I, DANNY B. SCHULTZ, declare as follows:

 3          1.      I am an attorney at law, licensed to practice in the Courts of the State of

 4   California and of the Eastern District of California of the United States District Court; I am

 5   the attorney representing DEFENDANT JEREMY TERRELL in this case. I have represented

 6   him since October 28, 2010.

 7          2.      November 10, 2010, DEFENDANT was ordered released on a property bond in

 8   the amount of $100,000.00. The property bond was partially secured by a Deed of Trust and

 9   the remainder by an unsecured bond.

10          3.      November 28, 2012, DEFENDANT was sentenced to thirty six (36) months,

11   with credit for time served.

12          4.      DEFENDANT is now serving his sentence at the Federal Correctional

13   Institution in Phoenix, Arizona.

14          I declare under penalty of perjury that the foregoing is true and correct. This

15   declaration is executed on February 19, 2013, at San Francisco, California.

16                                                         /S/ DANNY B. SCHULTZ
                                                           DANNY B. SCHULTZ
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 1                                             ORDER

 2          IT IS SO ORDERED. The property known as 456 Tulip Court, Brentwood,

 3   California 94513, shall be released and exonerated and the same be returned to its owner free

 4   and clear of any Federal lien as bail for the above defendant. The property bond in the amount

 5   of $100,000.00 is hereby exonerated. A Deed of Reconveyance for The Deeds of Trusts,

 6   securing the Bonds should be executed and filed in the appropriate County Recorders Office.

 7          Dated: February 22, 2013

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